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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

JASON SCHAUMLEFFEL,                              )
                                                 )
                   Plaintiff,                    )      Case No. 2:17-CV-463
                                                 )
       v.                                        )
                                                        Judge: George Smith
                                                 )
MUSKINGUM UNIVERSITY, et al.,                    )      Magistrate Judge: Kimberly Jolson
                                                 )
                   Defendants.
                                                 )



                           JOINT PROPOSED SCHEDULING ORDER

       Pursuant to the Court’s Order of March 4, 2019 (ECF 74) directing the Parties to submit a

proposed scheduling order to the Court, now come the Parties and jointly propose as follows:

       All discovery shall be completed by September 9, 2019. For purposes of complying with

this Order, all parties shall schedule their discovery in such a way as to require all responses to

discovery to be served prior to the cut-off date, and shall file any motions relating to discovery

within the discovery period unless it is impossible or impractical to do so. If the parties are unable

to reach an agreement on any matter related to discovery, they are directed to arrange a conference

with the Court.

       Any proposed protective order or clawback agreement shall be filed with the Court by

April 5, 2019. A Word version of the proposed protective order should be sent

tojolson_chambers@ohsd.uscourts.gov, and any provision related to sealing must comply with

S.D. Ohio Civ. R. 5.2.1.




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                                   DISPOSITIVE MOTIONS

       Any dispositive motion shall be filed by January 13, 2020.

       Defendant Mark Neal’s Reply in Support of his Motion for Judgment on the Pleadings is

due on April 19, 2019.

                                     EXPERT TESTIMONY

       The parties anticipate that expert testimony will be offered on issues of liability and

damages. For the reasons stated at the conference, the two are bifurcated as follows:

       Liability Experts: Primary expert reports must be produced by October 5, 2019; and

rebuttal expert reports be produced by November 5, 2019.

       Damages Experts: The Court will hold a telephonic status conference on February 24,

2020, at 10:00 a.m. to discuss damages experts. The parties shall join together on one line and call

the Court (614.719.3470).

                                         SETTLEMENT

       Plaintiff-Counterclaim Defendant shall make a settlement demand by August 3, 2019.

Defendants-Counterclaimants shall respond by September 9, 2019. The parties agree to make a

good faith effort to settle this case. The parties understand that this case will be referred to an

attorney mediator, or to the Magistrate Judge, for a settlement conference during this Court’s

October 2019 settlement week. In order for the conference to be meaningful, the parties agree to

complete all discovery that may affect their ability to evaluate this case prior to the beginning of

settlement week. The parties understand that they will be expected to comply fully with the

settlement week orders which require inter alia that settlement demands and offers be exchanged

prior to the conference and that principals of the parties attend the conference.




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Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       It is hereby certified that a true and complete copy of the foregoing Joint Proposed

Scheduling Order was served on parties and counsel of record via the Court’s CM/ECF Filing

System, this 11th day of March, 2019.

                                              s/Aneca E. Lasley
                                              Aneca E. Lasley




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